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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

ERIC GREENBERG, M.D.           *                    CIVIL NO. 19-137
                               *
                               *
                               *                    JUDGE: LMA
VERSUS                         *
                               *                    MAGISTRATE: JCW, JR
BOARD OF SUPERVISORS           *
OF LOUISIANA STATE UNIVERSITY *                     SECTION “I”(2)
AND AGRICULTURAL AND          *
MECHANICAL COLLEGE,           *
                              *
                              *


 MOTION TO EXCLUDE OR IN THE ALTERNATIVE LIMIT THE TESTIMONY OF
            PLAINTIFF’S EXPERT WITNESS JULIE SHERRIFF

       NOW INTO COURT, through undersigned counsel, comes defendant, THE BOARD OF

SUPERVISORS OF LOUISIANA STATE UNIVERSITY AND AGRICULTURAL AND

MEDICAL COLLEGE (“LSU Board”), who respectfully moves this Court for an order excluding

the testimony of Plaintiff’s proposed expert, Ms. Julie Sherriff, from this matter as the proposed

expert’s opinions are unreliable under Daubert v. Merrill Dow Pharmaceuticals, Inc., 509 U.S.

579 (1993) and Federal Rules of Evidence 702 and 703.

       WHEREFORE, Defendant, the LSU Board, prays that this Honorable Court grant this

Motion and exclude the testimony of Ms. Julie Sherriff.
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                                               Respectfully submitted,
                                               JEFF LANDRY

                                               ATTORNEY GENERAL

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                                               Mechanical College



                                 CERTIFICATE OF SERVICE
       I, hereby certify that on this 8th day of October, 2019 a copy of the foregoing pleading was

filed electronically with the Clerk of Court using the CM/ECF system. Notice if this file will be

sent to all counsel by operation of the court’s electronic filing system.

                                                      /s/ Julianne T. Echols
                                                           JULIANNE T. ECHOLS
